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Exhibit 15
 

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In The Matter Of:
TAGNETICS, INC.

 

October 18, 2019

 

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

IN RE: Case No. 19-30822

TAGNETICS, INC.
October 18, 2019

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TRANSCRIPT OF HEARING
BEFORE THE HONORABLE GUY R. HUMPHREY
UNITED STATES BANKRUPTCY JUDGE

APPEARANCES:

STEPHEN B. STERN, ESQ.
ROBERT R. KRACHT, ESQ.
For Tagnetics, Inc.

KENNETH W. KAYSER
RONALD E. EARLEY
JONATHAN HAGER
Petitioning Creditors

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TAGNETICS (19-30822) 10-18-19

 

 

(Proceedings begin at 9:34 a.m.)

THE CLERK: The United States Bankruptcy
Court for the Southern District of Ohio is now in
session until adjournment this 18th day of October
2019, the Honorable Guy R. Humphrey presiding. You may
be seated.

On the docket for this morning is Case Number
19-30822, Tagnetics, Incorporated. May the Court
Please have appearances, beginning with counsel for
Tagnetics?

MR. STERN: Good morning, Your Honor.
Stephen Stern on behalf of Tagnetics.

THE COURT: Good morning, Mr. Stern.

MR. KRACHT: Your Honor, Robert Kracht, from
McCarthy Lebit, in Cleveland, Ohio counsel for

Tagnetics.

THE COURT: Good morning, Mr. Kracht.

MR. KRACHT: Thank you.

THE CLERK: Gentlemen, each stand and state
your full name for the record.

DR. KAYSER: My name is Kenneth Kayser.

THE COURT: Good morning, Mr. Kayser.

MR. EARLEY: Ronald Earley.

THE COURT: Good morning, Mr. Earley.

MR. HAGER: This is Jon Hager.

 

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i THE COURT: Good morning, Mr. Hager. Okay,
2 think we're here for the hearing, evidentiary hearing,
3 on the motion to enforce settlement, filed by

4 Tagnetics, and the response of the Petitioning

5 Creditors, Mr. Kayser, Mr. Earley and Mr. Hager.

6 We reviewed everything extensively, I think,
7 from that perspective. We're ready to go, but I think
8! before we get started, I thought we would go over some
9| preliminary matters, make sure we're all on the same
10} page on everything. But before I get into my

11 preliminary matters, are there any preliminary matters,
12} which the parties wish to address with the Court?

13 MR. STERN: Your Honor, are we going to have
14 the opportunity for a brief opening statement after the

15| preliminary matters?

16 THE COURT: Oh, yes, yes.
47 MR. STERN: Then nothing at this time.
18 THE COURT: Absolutely. I just wanted to

19| kind of lay the groundwork for everybody, particularly
20 since we have pro se parties. I like to try to lay the
21 groundwork as best as possible, so everybody

22 understands as best as possible, you know, how

23| hopefully things will operate during the course of the
24 day today.

25 Anything you, the pro se Petitioning

 

 

 

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1 Creditors, wish to raise with the Court at this time,

2 before I get into my preliminary matters?

3 DR. KAYSER: No, sir.

4 MR. EARLEY: No, thanks.

5 THE COURT: All right. Since Tagnetics has
6 filed a motion, we'll have Tagnetics -- after opening

7 statements, we'll have Tagnetics present its case.

8 They may call witnesses. They will first conduct

9| examination of any witnesses they have. We call that
10 direct examination. And then the Petitioning Creditors
11 will have the right to conduct any cross-examination of
12 those witnesses, and then Tagnetics will have the right
13 to conduct what we call redirect examination, if they
14 want, questions based upon any questions you may have
15 asked them, and then you would be entitled to conduct
16 any cross-examination of those witnesses.

17 Let's -- to the extent possible, let's avoid
18 going back over the same ground we've already gone

19| over, you know. And then after they complete their

20 case, after Tagnetics completes its case, then the

21 Petitioning Creditors will have an opportunity to

22 present your cases.

23 You each, in effect, have your own case, and
24 you can each call whatever witnesses you want in your

25 own cases. You may testify in your own cases.

 

 

 

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Fortunately or unfortunately, this is not the first
time I've had pro se parties in my courtroom. It
creates an awkward situation -- it makes it more
awkward for hearings, because if you want to testify in
your own case, what you have to do is get in the
witness box, and in effect give a narrative, explain,
you know, what statements you want to state that you
think, you know, from an evidentiary factual viewpoint
support your position.

If an objection is stated during your
testimony, you need to make sure you stop and let me
rule on the objection, and then after I rule on the
objection, then you can proceed in accordance with my
ruling on the objection.

You will not be able to ask each other
questions. In effect, Mr. Kayser can't put Mr. Hager
on the stand and stand at the lectern and ask
questions, because unless any of you are lawyers -- my
understanding, none of you are lawyers; is that
correct?

DR. KAYSER: Yes.

THE COURT: That would constitute the
unauthorized practice of law. So you can testify in
your own cases, but you can't examine each other in

your own cases, and you can have, you know, each other

 

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testify in your cases, but again, you're going to have
to get in the witness box and give a narrative of what
you think support the cases.

Let's see if there's anything -- are there
any questions on how that will operate?

DR. KAYSER: Yes, Your Honor. We had
intended to each call each other as witnesses and ask
the questions that apply to us all.

THE COURT: I kind of thought that might be
the case from the way you filed your witness list, but
you cannot do that. That is the unauthorized practice
of law. You will not be able to do that. You may feel
it puts you at a disadvantage, but you make conscious
decisions to hire lawyers or not to hire lawyers.

DR. KAYSER: Understood.

THE COURT: And because you didn't hire a
lawyer, I cannot -- I can't let you guys serve as
lawyers. You need to go to law school, pass a bar
exam, to do that. And since you haven't done that,
you're not entitled. That's the law. That's the law
in Ohio.

DR. KAYSER: Yeah. We're okay with it. We
do understand. Your Honor, I'm sorry to ask for a
clarification, but if each of us can call witnesses,

can we -- but we can't call each other as witnesses?

 

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THE COURT: You can call each other as
witnesses, yes. You can do that. You each can get up
there and testify in what we call a form of a
narrative, stating your -- you know, what facts you
think support each other's cases, but one of you can't
be at the lectern asking another questions to elicit
that testimony. That's serving as a lawyer, and that's
the unauthorized practice of law, and you can't do it.

DR. KAYSER: Understood. Your Honor, one
question. How do we present the exhibits then?

THE COURT: You can just say -- well, you can
have the exhibits in the witness box, and then
describe, okay, you know, I'm looking at, and you have
to make sure that Tagnetics' counsel have copies of
those exhibits, so they know what you're testifying
about. And you can say, Your Honor, I'm looking at an
email dated July 20th, 2019, it’s from me to Mr. Stern,
you know, and then that way you identify the document.
And then that's how. And then when you're done you can
move for admission of those exhibits, and that's how
you would introduce exhibits.

DR. KAYSER: We'll do our best.

THE COURT: I understand. It's -- you know,
it's -- that's what the law is. I have to enforce the

law and apply the law, and that's the risk you take in

 

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the situation you're in, representing yourselves on a
pro se basis.

When we get done with all the evidentiary
presentations, you'll be able to make closing
arguments. That's where you have the opportunity to
stand at the lectern and argue why the facts, which
have been elicited today, support your legal position.

Now, with respect to the exhibits, I think
there's some overlap with the exhibits. It's froma
Court perspective, if you both -- let's say you both
have July 20th, 2019 email as an exhibit, the Court
finds it easier just to use one of those set of
exhibits. They're duplicative on each side, rather
than referring -- using two different copies of the

same exhibit.

To that extent, the Court's preference would
be to use Tagnetics' exhibits to the extent they're
duplicate, just because they're a little bit easier for
us to follow as they're more separate emails, for
instance. But that's the only reason. From
administrative ease purposes, that would work better
from the Court's perspective.

So if Tagnetics has introduced, you know, the
July 20th email, my preference is if you're going to

refer to the July 20th email, just to use Tagnetics'

 

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exhibit for that, so we don't have to, like I say, have
duplicative same exhibits. And if Tagnetics has
introduced a document already, and particularly if I've
admitted it, you don't need to go through the process
of identifying it and having it admitted. It's already
been admitted. You can use that. We don't need to go
over that groundwork with an exhibit that's already
been admitted.

Any other questions before we get started
with opening statements?

MR. KRACHT: Your Honor, I just want to note,
one of our exhibits is a composite exhibit of all of
what we believe to be the relevant emails and it's
actually the A. Is that going to pose --

THE COURT: No, that's fine. I think that's
-- you know, as long as each one gets admitted or the
whole total gets admitted, that's fine.

MR. KRACHT: And if for some reason we would
have say one or two excluded, that could be removed
from the exhibit at the time.

THE COURT: Yeah, I think that's fine.

MR. KRACHT: Thank you.

THE COURT: Any questions from the
Petitioning Creditors? No, okay. Great. Why don't we

have opening statements then? Now, on the opening

 

 

 

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statements -- go ahead and take the lectern, Mr. Stern.
I just want to ask, when you are making opening
statements or talking to Court, not as a witness,
please take the lectern. Our recording system works
much better that way. Now, if you're just making an
objection to a witness's testimony, you can just stand
up and make your objection from your seat, but
generally making presentations and lengthier
discussions with the Court, my preference is for you to
stand at the lectern. When you're testifying, you'll
be in the witness box.

I'm trying to think if there was something
related to that. Well, that's all I can think of. I'm
sorry, Mr. Stern. One other thing we could do, let's -
- what I'd like to do is have Ms. Behnken swear in the
three Petitioning Creditors and then we'll take a five-
minute break and you can make your opening statements.

The reason I'd like the Petitioning Creditors
to be sworn is what we have found after, like I said,
unfortunately having a number of pro se parties in the
courtroom before, it's difficult for them to separate
out what's a legal argument or a statement at the
lectern, versus testimony, and so it's easier for us
just to have them under oath for everything they state,

and that way we don't have to worry about well, was

 

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1 that sworn testimony or not sworn testimony. So

2 anything you state, we're going to, in effect, treat as
3 sworn testimony, and swear you in now.

4 THE CLERK: Your Honor, are you okay with

5 swearing all of them at the same time?

6 THE COURT: Yeah, that's fine.

7 THE CLERK: Gentlemen, please stand.

8 (Petitioning Creditors sworn.)

9 THE CLERK: Thank you.

10 THE COURT: Okay, let's take a five-minute

11 recess and then you can make your opening statements.

12 THE CLERK: All rise. Court is in recess.
13 (Off the record from 9:50 a.m. until 9:58
14} a.m.)

15 THE CLERK: Court is again in session. You

16 may be seated.

17 THE COURT: Okay. I wanted to clarify one
18 thing. Now, we have to treat each of the Petitioning
19 Creditors' cases, in effect, as a separate case. Mr.
20 Kayser, if you want to call Mr. Hager or Mr. Earley in
21 your case, you can, and you can examine them from the
22 lectern. And Mr. Earley, you can do the same with Mr.
23 Kayser and Mr. Hager. And same with Mr. Hager, he can
24 call Mr. Kayser and Mr. Earley, and examine them.

25 That's -- a pro se party can do that. That's not the

 

 

 

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unauthorized practice of law.

Now, Mr. Kayser though can't question
witnesses in Mr. Hager's case or Mr. Earley's case, and
vice versa.

DR. KAYSER: Okay.

THE COURT: So Mr. Kayser, if you want to
aeantne Mr. Earley and Mr. Hager in your case, you may
do so, and Mr. Earley, you can do the same with the
other two, and Mr. Hager, you can do the same with the
other two. You just can't serve as lawyers in anybody
else's case. Okay. I wanted to clarify that. We're
all on the same page with that?

DR. KAYSER: Yes, Your Honor.

THE COURT: Great. We ready for opening
statements?

MR. STERN: Yes, Your Honor.

THE COURT: You may proceed, Mr. Stern, and
then after Mr. Stern makes the opening statement for
Tagnetics, each of you can make your opening
statements, if you wish.

MR. STERN: Good morning, Your Honor. May it
please the Court, I am Stephen Stern on behalf of the
alleged Debtor, Tagnetics, Inc. We are here today on
our motion to enforce the settlement agreement. We

think the terms are pretty clearly set forth. The

 

 

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pertinent email is a series of emails that I refer to
in the motion as our term sheet that were exchanged on
July 26, 2019, and it lays out very clearly the terms
of the -- the key terms of the agreement.

And as that email string reflects, the
alleged Creditors, not once, not twice, but three times
confirmed in writing the terms of that -- those key
terms of the settlement agreement, and this was
communicated to the Court, that we have an agreement in
place.

It was only after the fact, when we exchanged
the written settlement agreement, where we learned
about these alleged concerns that they had, clearly
going beyond the scope of the payment terms that were
get forth, and the phrase -- key phrase in the term
sheet says "full mutual releases, no carve-outs." And
as the Creditors are seeking, there's a number of
carve-outs that they are seeking.

One thing that I would like to point out, and
if there was any confusion when looking at our brief, I
refer to 123, there's a reference to an email in the
brief on July 26. It is on Page 6 of our brief, where
we copied the chart of an email that was sent from Mr.
Hager to me on July 26 at 4:42 on there. That was not

attached to our brief. That was our exhibits, Exhibit

 

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I. That was added after the fact. Exhibits that we
put for our exhibits today do mirror the exhibits we
had attached to our motion, except Exhibit I is the
only added one, and that is the one that contains that
missing email there, in the event there's any confusion
on the part of the Court when looking through the
brief. My apologies about that oversight.

But as that third email reflects, in caps it
says, "Total settlement," with those numbers, and yet
the alleged Creditors are seeking additional payments
beyond that total settlement figure, and again seeking
exceptions to the full mutual releases, no carve-outs.

Those discussions happened over a period of
time, and those emails reflect, I repeatedly encouraged
the alleged Creditors to seek counsel, to advise them
on this process. And just to he perfectly frank, was
guite surprised when seeing the exceptions and the
additional payments that they were seeking after the
fact.

We think the settlement agreement, which was
-- I think it's Exhibit C -- Exhibit B, with the
exhibits, Exhibit 2, to the motion, accurately sets
forth the key terms of the agreement, and we're ready
to proceed with the evidence that supports that.

Thank you, Your Honor.

 

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THE COURT: Thank you, Mr. Stern. Okay. One
of you want to at least start?

MR. EARLEY: Yes, sir, and I'll give the
opening statement for all three of us.

THE COURT: Okay.

MR. EARLEY: Your Honor, the Petitioning
Creditors intend to show that the terms of the proposed
settlement agreement offered on August 14th in no way
resembles the proposal forwarded -- put forth by the
Petitioning Creditors on July 20th, 2019.

We also will show that the negotiations
between Tagnetics and the Petitioning Creditors between
July 20 and July 26 only focused on cash payments, and
not any other term or terms of the agreement. The
evidence will show a significant difference in the
proposed settlement agreement, once Tagnetics secured
the postponement of the scheduled trial.

THE COURT: Thank you. I will accept that as
the opening statement of Mr. Earley. Mr. Kayser, do
you wish to state anything different? You don't need
to state the same thing Mr. Earley just stated. Is
there anything additional you --

DR. KAYSER: There's nothing more I need to
state until testimony.

THE COURT: Okay. So are you adopting Mr.

 

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1 Earley's opening statement as your opening statement?
2 DR. KAYSER: Yes.
3 THE COURT: Okay, thank you. Same questions

4 for you, Mr. Hager.

5 MR. HAGER: I'11 adopt his statement.

6 THE COURT: This all goes back to the fact

7 that you can't be each other's attorneys, and -- but I

8 don't want to cover the same ground if we don't have to
9 cover the same ground on this stuff. Okay. Mr. Stern,
10 do you have any witnesses you wish to call?

11 MR. STERN: Yes, Your Honor. I'11 be the

12 testifying witness and Mr. Kracht will examine me.

3 THE COURT: Okay.

14 MR. STERN: I'm just going to take up with me

15 the binder of exhibits.

 

16 THE COURT: That's fine. I do have one
17| point. As you referenced Exhibit I, which you said was
18 not attached to your motion. It does not appear that

19 it's in my booklet either, so --

20 MR. STERN: Really? May I take a look at
21 that?
22 THE COURT: Yeah, absolutely, please. Ms.

23 Behnken.

24 MR. STERN: Does your binder have Exhibit I?

25| Okay.

 

 

 

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THE COURT: Okay, thank you.

THE CLERK: Sir, please stand. Raise your
right hand.

MR. STERN: My apologies.

STEPHEN STERN, WITNESS, SWORN

THE CLERK: Please state your full name for
the record.

MR. STERN: Stephen with a P-H, Stern, S-T-E-
R-N.

THE CLERK: Thank you.

DIRECT EXAMINATION OF STEPHEN STERN
BY MR. KRACHT:
Q Mr. Stern, you're one of the lawyers for
Tagnetics in this case, correct?
A I am.
QO Can you provide some background of your nature

of your practice?
A Sure. I was admitted to practice in 1996, after
I graduated from GW Law School. I forget whether I was
admitted in October, November, December, but that was
when I was first admitted to practice, and have been
practicing for approximately 23 years.

My practice is litigation oriented. The early
part of my career did a lot of employment counsel

litigation and then over the last I'd say probably 15,

 

 

 

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16 years, a good amount of commercial and business
litigation, in courts. And along the way, negotiated

many, many settlements.

QO Do you practice in the area of bankruptcy at
all?

A I do not.

QO So this is your first foray into that?

A Tews.

Q But you do -- would you say that the majority of

your cases in your litigation practice go to trial, or
are they settled?

A Trial is definitely the exception. Most are
either resolved through settlement negotiations or on
motions.

Q Okay. And so the settlement that we're talking
about today in this case that we're seeking to enforce,
is that something that is unique in your experience of
how a settlement was negotiated?

A No. The only unique part I'd say is that this
happened while I was on vacation, the discussions.

Q What role did you play in connection with the

settlement negotiations with the Petitioning Creditors?

A Sure. I forgot the exact date. I can refer to
the exhibits, but we -- that week -- I guess the week
before I went on vacation, had some discussions. I

 

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forgot whether it was with Mr. Kayser or Mr. Earley,
opening the door -- it may have just been the email,
when we first started communicating about the
possibility of having settlement discussions.

They happened on and off over that week, leading
up to the 16th. There was some discussions that were -
- or demands that were made by the alleged Creditors,
flat out rejected those. Then they made some -- then
we made some counteroffers. Those were flat out
rejected, and then the discussions really picked up in
earnest the 24th, 25th and 26th. Really, the 26th is
the key day.

Q Okay. I'm going to try to use this contraption

here, and if you can turn to Tagnetics' Exhibit A,

please?
A Okay.
Q If I can adjust this? Okay. Can you identify

Exhibit A?

A Sure. This is a series of emails, email string,
between me and the alleged Creditors. Even though
sometimes only one of the alleged Creditors' emails
appears, I remember on these emails, I was
communicating with all of them, and that's reflected on

some of them.

The email string starts on -- with an email from

 

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me addressed to Mr. Kayser on Friday, July 19th, 2019,
at 4:14 p.m., and then you can see the series of emails
back and forth, where demands were made, rejected, and
the reflection of our settlement negotiations, at least
in writing, but does not account for every telephone
communication that occurred.

Q Okay. So Exhibit A then goes from most recent

to the earlier emails, so --

A Yes.

Q So it's in reverse order, correct?

A Correct.

Q Now, did you have any phone conversations during

this period with any of the Petitioning Creditors?

A I did. I don't remember speaking -- when we had
our first conversations. I may have spoken with Mr.
Kayser once or twice, but on the date -- key day, July

26, I was speaking primarily, if not exclusively, with
Mr. Barley.

Q Okay. Directing your attention to Exhibit A, if
you can go through several of those earlier emails,
where there are a number, it would appear, of both
monetary items that are being discussed, as well as
non-monetary items. Can you address those, please?

A Sure. I guess the first one does reflect that I

spoke with Mr. Kayser, either earlier that day or the

 

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day before, because it opens up with, "Following up on
our conversation, this email identifies everyone who
should be copied on email communications, regarding
potential settlement discussions."

QO And that's the July 19 email, correct?

A Yes, and this is where I was setting the
groundwork, because I was going away on vacation the
following day. I wanted to make sure that people were
available to communicate, in the event I had trouble
being able to access email or phone calls. I wanted to
make sure my partner, Jon Kagan, was available to step
in if need be. Fortunately, there were no difficulties
communicating. I was able to communicate the entire
time, so he was not really involved in the process.

Q Okay. I'm directing your attention to the next
email in line there. It looks like it's July 20th at
4:54.

A Yes, I see that one.

Q And who is that from?

A That was sent from Mr. Kayser to me, and with a
CC to a number of other people involved in the case,
including the other alleged Creditors, you as my co-
counsel, and other people -- other attorneys that were
as co-counsel in the case.

Q Okay. And can you describe for the Court what

 

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was the subject matter of that email?

A Sure. This reflects a substantive communication
about potential settlement, where Mr. Kayser, on behalf
of -- what I interpreted, on behalf of himself, and it
does say "our final offer," so I interpreted this to be
him speaking on behalf of him, Mr. Earley, and Mr. --
I'm drawing a blank.

QO Mr. Hager?

A Mr. Hager. My apologies. That they made
monetary demands, which are reflected there in the
first part of the email. You can see certain monetary
amounts to Mr. Earley, Mr. Kayser, Mr. Hager, with the
total being -- or payments to all three of them --
$486,700 and change. And then it goes on to proceed
with setting forth other combination of non-monetary
demands, and some other monetary demands to be made, to
be included, as well, in the settlement.

Q And did you respond to those gentlemen?

A Yes. My response is reflected in the next email
in the string, which is on Page 5 of the exhibit. It's
an email from me to Mr. Kayser, Mr. Earley, Mr. Hager.
It’s address to Ken, Ron and Jon. It's at 10:46 a.m.,
and in that email I acknowledge receipt of their
demand, and while I -- and I'm reading the second

sentence, "While I and the Tagnetics team appreciate

 

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the overture to try to reach negotiated resolution,
event you put forward is not realistic." And I go on
to explain why what they're requesting is not even on
the table for a realistic settlement discussion.

Q Okay. And would you present to the Court what
those objections were to that proposal?

A Sure. So part of the problem was a large
monetary payment up front, initial payment, and that
was something I explained in Paragraph 2, that is not
feasible. Talked a little bit about some of the
structures to a deal that we could possibly accommodate
at the time, but was only -- what was a potential
possibility, not making any clear offer or saying this
will be a deal term.

Then in the third paragraph I go on to say,
"insisting on any other structure than what I've
outlined above all but assumes that we proceed with the
bankruptcy proceeding." So structurally they're
putting forth all these monetary terms, was way out of
line with what Tagnetics was willing or able to do.

Q Okay. Directing your attention to the response,
I take it, from that.

A Yeah. I'm just -- this is where I first
encouraged them to seek their own counsel in this --

I'm sorry, I did not do that there. Oh, no, I do. If

 

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you look at the one, two, three, fourth email, I do at
the very end of that say, "You can and should seek your
own counsel, ag I'm sure he or she will tell you the
same thing," the stuff that I was saying about what
happens if you proceed with bankruptcy.

Q That's the fourth paragraph on the July 23rd
email at 10:46; is that correct?

A Yes.

Q Did any of the Petitioning Creditors respond to
that communication?

A They did. A little while later, not much after
my email, Mr. Earley responded in an email at 1:34
p.m., again with some CCs on it, and then after
rejecting, without putting out any specific terms, he
then put forth a new offer, and it says, "Stephen, here
is our offer after your email this morning. Let me
know if there is any interest." And in that email
there's a chart that is reflected at the top of Page 5
of this email string, and it lays out a series of
monetary payments. There are no other terms referenced
in that email. It is strictly a monetary payment
chart:

Q And did you respond to that proposal?

A I did. My next email is the following day in

the afternoon. Looks like on July 24th at 5:56 p-m.,

 

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just Ron, Ken and Jon, "Thank you for your revised
demand. This structure is more in line with what
Tagnetics thinks is feasible, but the initial payment
is way too high for a cash-strapped company." And I go

on to explain what we're looking at in terms of a
potential lower initial monetary payment. Then after -
- which we offered a lower number there.

"The remainder of the payment schedule, after
the initial payment you proposed, is acceptable,
provided that the payments are contingent," and I go on
to some contingencies. And I go on explaining that
further. And then just go on to continue explaining
that in the email.
Q Okay. Did you receive a response to your email
from any of the Petitioning Creditors?
A It was a flat-out rejection completely, email
from Mr. Earley later that evening, on the 24th. His
email is very short and succinct. It says, "Stephen,
no chance. Look forward to meeting you on Monday." So
no counter proposal or anything on that.
Q And that's reflected, is it not, in what's
referenced as a July 24, 2019 email from Mr. Earley to
you at 7:43 p.m., correct?

A That's correct, and that's on Page 3 of the

exhibit.

 

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Q Did you respond to Mr. Earley's response?

A I did. The next day I sent a short email that
says, "It seems silly and, quite frankly, odd to simply
cut off negotiations. If there is a counteroffer you
would like Tagnetics to consider, please send it and I
will forward it to the company for consideration.
Continuing down this path essentially guarantees that
you, Ken and Jon do not receive any money, and each of
you are at risk for having to pay money, parens, and
the money that Ken received last week in settlement
through KBL is subject to a preference and will have to
be returned if the Court imposes a bankruptcy on the
company. I look forward to your response." And that's
on July 25th, 2019, at 12:42 p.m. from me to all three
of them, even though it only shows Ron's name there.

Q And that would be at the top of Page 3 of

Exhibit A, correct?

A Correct.

Q Okay. Did you receive a response from any of

the Petitioning Creditors to that email?

A I did. Later that day, looks like even less

than an hour later, I received a response from Mr.
Earley at 1:25 p.m., and that email is reflected at the
bottom of Page 2 of the exhibit, on to the top of Page

3, and again it's pretty short and to the point. If

 

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says, "Stephen, they raised 90,000 for the first
settlement, they should be able to find another 90 for
us. Here is my counter proposal." And it lists that -
- well, I'll call the payment schedule chart that was
included below, with different numbers, and it shows an
initial payment 30,000 each, to each of the three
alleged Creditors, and then two subsequent payments at
six and 12 months, and then there is an additional
payment at -- upon the occurrence of what was referred
to as a liquidity event, and then the last line of that
chart shows the total payments to each of the three
alleged Creditors. No other terms or conditions are
reflected in that email or counter proposal from Mr.
Earley.

QO Okay. And that response shows up on Page 2, at
the bottom of Page 2, email from Mr. Earley, dated July
25th at 1:25, and the chart you're talking about

carries over onto the next page, top of Page 3,

correct?

A Correct.

Q Did you respond to that email?

A I did. The next morning at 8:24 a.m., I sent an
email, again, to -- responding, saying, "Ron, while we
appreciate your logic around the $90,000" -- it says
"90k number," "$90,000 number, you are miscalculating

 

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the company's situation. We had hoped to negotiate
with you outside of court on settlement while the
parties pursued arbitration, as the terms of your
contracts require, but the Court ruled against that.
The company does not have an ability to raise another
90k in the near term. Now, unfortunately, the options
to avoid substantial risk on both sides is very
limited. The three of you prevail on Monday, your
claims will be worthless, and Ken and Bob, as well as
S-Tek and counsel for KBL, and S-Tek will have to
return the money they received last week. If Tagnetics
prevails, the company will move to require that you pay
all Tagnetics' attorneys' fees and litigation costs in
this matter, which are significant and growing by the
day."

Go on to proceed, "Tagnetics and I cannot
understand why each of you are pursuing the course of
action that essentially guarantees you will not get
paid the amounts you claim you are owed. The company
has made a reasonable proposal. I would like to hear
back from each of you on the company's most recent
proposal. Ken and Jon, I have not heard back from you
and I would like to know your position, as well. As
before, in light of the risks involved, I suggest you

seek advice from bankruptcy counsel. The path you have

 

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chosen seems counterproductive and contrary to the
outcome you claim to seek."

Q Did you receive a response from any of the
Petitioning Creditors to that email?

A I did. So really -- well, what happened between
that and the next email, which is on this email string,
is at, looks like 3:27 p.m., or that email at 8:24
p.m., I remember this very distinctly, because that was
my last day of vacation. We were heading home that
day, and I was supposed to be driving. I was in the
passenger seat. Had a bunch of calls in the morning on
matters related to this and other stuff, and then
starting early in the afternoon, I remember it was
around one o'clock, give or take a little bit, the
phone calls became fast and furious between me and --
not exclusively Mr. Earley, certainly primarily with
Mr. Earley. I think it was exclusively with Mr.
Earley, where we were calling one another frequently,
going back and forth, trying to negotiate a settlement.
And we ultimately did reach one.

And I remember, when we finally came to terms on
one, I was very deliberate in how I worded things, and
one of the key terms, before we closed the deal, one of
the things that they insisted on, was that they get

full releases, completely, and I had some real concerns

 

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about that, representing the company for certain
reasons that I don't think are pertinent here, but I
said, I'm duty bound to bring this to my client's
attention, I will do that, I will tell you I'm not
recommending it, but I'll let the client know. And
after some discussions with the CEO of the company, I
was told I was authorized to make an agreement that
included the monetary terms that we ultimately agreed
to, which are reflected in the email, but the key was
also full mutual releases, no carve-outs. And that's
reflected in my email later on that reflects the terms.
And I remember, the company was fine, giving the
three alleged Creditors full releases, despite some of
the reservations I had, as long as it was mutual, full
mutual releases, no carve-outs, and that was the phrase
that went over, over and over again, in my discussions.
QO And that discussion occurred on that issue as a
result of concerns that one or more of the Petitioning
Creditors had about claims that the company may have
against them, correct?
A Correct. They were very clear about that, and
wanted to be released from certain terms of other
agreements that they had with the company, and it was
adamant that that was not negotiable from their

perspective, and so they wanted to make sure that they

 

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were fully released, and the company's response was, if
we're going to fully release them, we're going to get
full release, as well, and move on from there.
QO So was the concept of a mutual release with no
carve-outs dictated by the Petitioning Creditors?
A IT think so, because they were the ones that was
driving it, and my client -- our client ultimately said
they were fine with it, as long as it's mutual, and
they were willing to go along with that.
Q Okay. Directing your attention to Page 1 of
Exhibit A, I think you referred to that in opening as
the term sheet?
A This is. This is where, after we had --
remember, there were many phone calls. When we finally
came to terms, I remember I said to Mr. Earley, I'm
going to then send you an email that sets forth the key
terms, and I want to make sure that I hear back from
you guys, confirming before we call the Court, that
this is what we agreed to. We should not be calling
the Court until we have an email exchange confirming
this is what we agreed to.

I was very sensitive to the fact that we have
pro se parties. I was also very aware of the
sensitivity of these negotiations. JI was very, very

deliberate about this, because now that we were at that

 

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point, I wanted to make sure there was no
misunderstandings. And I wrote it out that way too.
My email clearly says, at 3:27 p.m., "Ron, Kevin, Jon,
below sets forth the terms of the agreement we reached
by phone. Each of you please reply, confirming
agreement to these terms, and that I need you to
initiate a call to the Court to advise of the
settlement. It makes no sense for us to have to show
up at court on Monday, now that we have an agreement in
place that will be documented more thoroughly in a
settlement agreement. We can work on the written
settlement agreement over the weekend." And I wrote,
"Key terms: Payment of $90,000 ($30,000 each), within
three days of a fully executed agreement. The
remaining schedule of payments as you proposed below,
accepting 12 and 18 months instead of six and 12
months." And that's referring to the schedule that I
was referring to, the schedule chart that's reflected
in July 25th email.

And then that phrase, "full mutual releases (no
carve-outs)." Then another term, "Dismissal/withdrawal
of claims by each of you to be filed within one day of
receiving payment." And I said, "I believe this
captures the key terms we discussed. Please confirm."

And then I remember there was a bit of a delay.

 

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I was a bit surprised by the delay. I called Mr.
Earley once or twice. I may have spoken with Mr.
Kayser. I don't remember exactly who I was speaking
with at this time. I'm pretty sure at least one of
them was Mr. Earley. And I said -- and I got an email
response from Mr. Hager at 3:56 p.m. saying, "Mr.
Earley is discussing this with the Court at this
moment. I am responding for Kayser, Early and Hager,
saying we agree to the terms put forth as documented
above." He wrote "above," but it's really -- I
interpret that to mean the email below. And so that
was confirmation number one, that the term sheet, as I
described it, in my 3:27 p.m. email, is agreed to and
confirmed.

Q Okay. Then at the top of Exhibit A on Page iL,
there's another email from Mr. Hager.

A Yes.

Q At 3:58, which is within the same time frame
here. And could you address that, as well?

A And there, so to me that's confirmation number
two. What he did is he copied my email at 3:27 p.m.
and copied it into his email. He says, "Stephen, I
will clarify that we agree to the terms you set forth
in your last email and represented below. Key terms."

And lists those four key terms that I just described

 

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moments ago, and no other terms, none of these other
terms that were referenced in the July 20th email or
anything earlier. These are the key terms of the
settlement agreement.

Q All right. I'm asking you to refer now to
Exhibit I, which now the Judge has a copy of, as well.
Can you identify what Exhibit I represents?

A So again, there was some back and forth about
when I was going to hear from the Court. I ultimately
did speak with -- forgive me for referring to you by
your first name. I remember Joni. I don't want to
mispronounce the last name. I did eventually speak
with her.

I got an email from Mr. Hager at 4:09 saying,
"Stephen, the Court will be calling you momentarily to
confirm we have an agreement among all parties." And
then a short while after that, he sent another email to
me, again -- so for the third time, confirming the key
terms of the agreement. It's the top email in that
string on Exhibit I, July 26, 2019, it says at 4:36
p.m., and it's from Mr. Hager to me, with a copy to Mr.
Earley and Mr. Kayser. It says, "Stephen, to make sure
there is mo confusion, we are confirming the following
payment schedule and amount as part of this agreement,"

and lays out that payment chart that I was referring to

 

 

 

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earlier. It's the same exact ome that we agreed to,
except the only difference is there's two differences,
or three.

The second and third payments instead of six and
12 months, now are written out to be 12 and 18 months,
which accurately reflects what we agreed to, and then
in the bottom line where totals of payments, it says,
"Total settlement," and the "Total" is written in all
caps, to me emphasizing the point, this is what we
agreed to, total settlement payment, nothing more

beyond that.

Q Thank you. Directing your attention now to
Exhibit B.

A B as in boy?

Q Bas in boy. Can you identify that? I believe

there's an email on the first page.

A Yes. This is -- so the first page is the cover
email that I sent to Mr. Kayser, Mr. Earley and Mr.
Hager, attaching the draft settlement agreement. I
worked on the settlement agreement. Admittedly, it
took me a little bit longer than I had originally
anticipated. That was unfortunate, but I did get it to
them, out by the date that I committed to getting it to
them, after we had the status conference with the

Court, and then the subsequent pages of that exhibit

 

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reflect what the agreement that I drafted, that I
believe accurately reflects and is taken off of the
term sheet, those email exchanges between me and the
alleged Creditors, on July 26th.
Q All right. I'm also directing your attention
now to Exhibit H, if you will. Originally there were
six Petitioning Creditors; is that correct?
A Correct. Originally six, three of which settled
out earlier in this case, and Exhibit H reflects a
redacted version of that settlement agreement with the
other three Petitioning Creditors in this case. Those
Petitioning Creditors were KBL Ventures, LTD, which I
understand to be owned by Mr. Kayser, one of the
remaining Petitioning Creditors and one of the people
here today, and that is reflected in -- at least as the
CEO, because if you look at the last page of that
exhibit, he is the one that signed on behalf of Kayser
Ventures, LTD. That's on Page 6.

The other settling Petitioning Creditors in that
settlement agreement were S-Tek, Inc., and a gentleman

by the name of Robert Strain.

Q You negotiated that settlement, as well; is that
correct?
A I did. I negotiated that settlement with Kayser

Ventures and S-Tek were represented by counsel and Mr.

 

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1| Strain was proceeding pro se. Most of the negotiations
2| were with the attorney. There was some negotiations

3 separately with Mr. Strain, but not much.

4 Q Other than -- well, the redacted sections here

5! most likely deal with the monetary aspects of the

6 transaction, I take it?

7| A They were. It deals with the monetary aspects

8 of it, some non-monetary terms, typical language about
9 -- you know, I took out all those terms. I left in

10 here for purposes of this proceeding only the

11 introduction, just show who this is between, the

12 signature page again to show who it's between, and then
13 elements of or portions of the releases, because one of
14 the objections that we got subsequent to sharing the

15| draft settlement agreement was including Compass

16| Marketing, Inc., specifically among the releases. And
17 I was very, very surprised to see that, because first
18 of all --

19/ Q What you're saying is that after you transmitted
20| what has been identified as a part of Exhibit B, the

21 settlement agreement, regarding the remaining

22 Petitioning Creditors, that one of the issues that came
23 up was whether or not there should be a carve-out as to
24 Compass?

25, A Yes. I'm sorry. Thank you for that

 

 

 

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Clarification. So, yes. After I transmitted Exhibit
B, one of the responses I got back from the alleged
Creditors was an objection to including Compass
Marketing, Inc., in the release. If you look at
Exhibit B for a moment, if you look at -- in Paragraph
-- in Section 4, Section 5 and Section 6, which are the
releases that would be provided by Mr. Kayser, in 4 Mr.
Early, in 5 Mr. Hager, and 6, I'll just read the
opening of Mr. Kayser's paragraph, because the language
mirrors itself. "In exchange for the consideration
described herein, Kenneth Kayser on his own behalf and
on behalf of his heirs, successors and assigns, as well
as all corporate and operating affiliates, related
entities, in which Kenneth Kayser has controlling
interest, hereby releases and discharges Tagnetics, as
well as its current and former parent companies,
corporate and operating affiliates, subsidiaries, and
related entities (including specifically Compass
Marketing, Inc., as well as each of their current and
former directors, officers, shareholders and other
equity holders, agents, employees, accountants,
attorneys, insurers, collectively the Tagnetics
releasees.)" And that language appears in each of the
release paragraphs.

The reason why --

 

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Q Was this any different than the nature and scope
of the releases in the original settlement agreement
that's referenced as Exhibit H, with the --

DR. KAYSER: Your Honor, I object to this
line of questioning as relevance. I mean, what was
appropriate to settle with Kayser Ventures is not
necessarily appropriate with what a settlement would be
with the individuals who had contracts with Tagnetics.

THE COURT: Any response, Mr. Kracht?

MR. KRACHT: Yes, Your Honor. We're getting
to the point that we were going to try to make on that.
It has to do with whether there was a carve-out or not
that was requested and the logic of that, and how these
otherwise were similar agreements drafted after
negotiations by Mr. Stern, with the original -- the
other Petitioning Creditors that were released, which
included in part, because of his status with Kayser
Ventures, Mr. Kayser, as well.

THE COURT: I'm going to overrule the
objection, but let me state this. I'm going to let you
finish this questioning, but I'm going to be honest.
I'm very skeptical of the position that Compass -- this
argument or position that including Compass in the
release would be a carve-out. I don't understand that

from a legal perspective. I don't follow your argument

 

 

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that including Compass in the release would be a carve-
out. And okay, I can understand that, if the July 26th
emails said based upon all the terms in the settlement
agreement with Strain and KB whatever, and so forth,
but that's not what the July 26th email says.

MR. KRACHT: Correct, Your Honor.

THE COURT: So I'm being honest with you, I'm

MR. KRACHT: Quite frankly --

THE COURT: I'm not buying it right now, and
you're going to have to do an awful lot of convincing
that including Compass in the release is a carve-out.

MR. KRACHT: We're not saying that, Your
Honor. We're saying that there was no carve-out,
saying that the release didn't apply to Compass. They
were a part of the overall release that was given. A
carve-out of Compass would have said, you know, the
Tagnetics, its officers, directors, affiliates, blah,
blah, blah, excepting Compass, which would give -- what
would have occurred if that happened, would have been
they would have been able to retain any claims they may
have against Compass. That would have been the carve-
out. We didn't agree to the carve-out.

THE COURT: I understand that's your

argument. I understand that.

 

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MR. KRACHT: Mm-hmm.

THE COURT: But your July 26th emails don't
say Tagnetics, its affiliates, Compass, blah, blah,
blah. And so I don't know how you explode and include
your July 26 email to include all the affiliates and
everything, when the key terms and everything else,
from what I read, don't include affiliates and blah,
blah, blah, and officers and agents and blah, blah,
blah.

MR. KRACHT: That's why we're --

THE COURT: The settlement agreement does.

MR. KRACHT: That's why we're contrasting, to
the extent there is something to contrast, the earlier
settlement agreement, because there is a distinction,
there was a carve-out there that we were going to get
EO.

THE COURT: Again, I'11 let you proceed with
this questioning. I'11 overrule the objection, but,
you know, I'm skeptical about this position.

MR. KRACHT: Understood.

MR. STERN: Well, as in every settlement
agreement I've drafted in my career on behalf of a
company, I don't think there's a single one that I
could think of off the top of my head, where I did not

include the entity itself that's a party to the case,

 

 

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1| its parents, affiliates and subsidiaries. That's

2 standard operating procedure in any settlement

3 agreement, I think I've ever done in my entire career.
4| And in this case, an affiliate of Tagnetics is Compass
5 Marketing, Inc., and as evidenced by the fact that we
6 included specifically Compass Marketing, Inc. in the

7| prior settlement that Mr. Kayser had signed, to show

8 that this is not a surprise. This is something that

9| was standard procedure in settlements generally,

10| parents, subs, operating affiliates, so that's in all -
id - typical in agreements, and in this case specifically
12 Compass, because Mr. Kayser had signed on that before.
13| And we didn't specifically mention Compass before that
14 either, until we got to the draft settlement agreement,
15 which Mr. Kayser signed, without objection.

16 So when I got the objection later on, after I

17 sent Exhibit B to the alleged Creditors, I was very

18 surprised. I'm just mirroring the language that was
19 acceptable before, and is typical in all sorts of

20; agreements about -- where you release affiliates,

21 parents and subs, and that's -- again, I don't think
22 I've ever done an agreement where it didn't include

23 that language.

24 BY MR. KRACHT:

25 Q Now, when you look at Exhibit H, the prior

 

 

 

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settlement, there was a carve-out that was addressed in
that particular case, right?

A Yes, thank you. So we did have to include a
carve-out and we could provide an un-redacted version,
if need be. It is redacted in here. But the KBL
releases, because Mr. Kayser is an individual who owns

KBL, as we understood it, there is a carve-out at the

end of his -- of his release, because if you look at
the language -- I'm going to read Page 2, Section 5, of
Exhibit H.

"KBL releases. In exchange for the
consideration described herein, Kayser Ventures, LTD,
on its own behalf and on behalf of its current and
former parent companies, corporate operating
affiliates, subsidiaries and related entities, as well
as each of their current and former directors,
officers, shareholders and other equity holders," and
then go on and on. Releases, Tagnetics, and again has
the same language there, "its corporate operating
affiliates, subsidiaries and related entities,
including specifically Compass Marketing, Inc."

The reason why we had to include a carve-out at
the end of Section 5, because we knew that Mr. Kayser
had his own individual claims, and based on that

language, we did not negotiate a separate settlement

 

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for his individual claims. We knew that he was
proceeding on those. It was part of the understanding

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of the deal terms. It would have been intellectually
dishonest to try to -- try to get a release of his
individual claims, when you had the KBL claims and were
only negotiating about KBL at the time. We were not
negotiating about Mr. Kayser's individual claims.
So, at the end of this paragraph -- it is

redacted, but we could provide an un-redacted version.

DR. KAYSER: Your Honor, I object. I do not
have in front of me what he's reading from, and so I
can't follow what's going on here. And in addition,
this is irrelevant. What Kayser Ventures' settlement
said does not affect and was never meant to affect, and
my counsel for Kayser Ventures isn't here.

THE COURT: Do you have -- let me ask you,
Mr. Kayser, do you have their exhibits in front of you?

DR. KAYSER: But it's redacted in there,
also. And I didn't bring with me the settlement
agreement from Kayser Ventures.

THE COURT: Well, I think he was reading from
-- is the carve-out redacted or is the carve-out -- are
the carve-outs redacted?

MR. STERN: It should be at the end of --

THE COURT: I'm going to sustain the

 

 

 

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objection then. If you're talking about something that
was redacted from the exhibit, I agree. I think Mr.
Kayser is absolutely right, and I'm going to sustain
the objection, to the extent you're testifying about
him trying to read something that's redacted from an
exhibit. And let me say this much, I will probably --
if they move admission of Exhibit H, I will probably
admit it, but I'm, again, being forthright and honest,
from what I've seen of everything, I tend to agree,
Exhibit H, I think, is irrelevant. I'm being
forthright and honest with you. You know, I think
really for the most part, Exhibit H is irrelevant,
because what you -- what terms you entered into with
other parties on another settlement, even though a same
case, I'm struggling to understand the relevance to
settlement with these three other parties.

MR. KRACHT: Just a question, Your Honor.
Would it be permissible to substitute Exhibit H,
redacted version, with a revised version that shows
that language that we're talking about now?

THE COURT: Is there objection --

DR. KAYSER: Yes, I would object in that it's
irrelevant.

MR. KRACHT: Mr. Kayser was a party to --

DR. KAYSER: It's a separate entity. The

 

 

 

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fact that I happened to be the chairman of that company
is not relevant to this portion of the case.

THE COURT: Mr. Earley, any objection?

MR. BARLEY: I object also. I agree.

THE COURT: Mr. Hager?

MR. HAGER: I object, likewise.

THE COURT: Yeah, I'm going to sustain those
objections. You know, we had exhibit filing date, and
that's why we have exhibit filing dates. You had
plenty of opportunity to consider this. And now you
want to substitute one that you think is more favorable

to you than the one you submitted in this largely

redacted version. And not only that, I mean, I often
will allow exhibits to be introduced, even though they
missed the filing date, but I do -- again, coupled with
the fact that I do believe Exhibit H is not -- is
largely, if not totally, irrelevant to what's before me
today, I'm going to sustain the objection.

MR. KRACHT: Thank you, Your Honor.

THE COURT: To the request you've made.
BY MR. KRACHT:
Q Okay. Mr. Stern, if you can look to Exhibit C?
A Yes.
Q Can you identify that document?
A This is an email from me to Mr. Hager, with a

 

 

 

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copy to Mr. Kayser, and Earley, on August 19, 2019, at
7:48 p.m., where I am responding. It's an email
string. That's the most recent one in the string was
the one I just identified. There's an earlier email in
this string from Mr. Hager to me, with a copy to Mr.
Kayser, Mr. Earley, on August 16th, 2019, at 2:19 p.m.
Q And that's on Page 2 of Exhibit C, correct?

A Yes, and in that first email in the string, from
Mr. Hager, it sets forth a number of objections that
they have to the terms -- the written terms of the
settlement agreement, that I provided to them, as in
Exhibit B, on August 14th.

Q Okay. And you responded to those objections to
the settlement agreement?

A I did, and that's my August 19th email to them,
which is the first page of the exhibit, where I try to
go through the substantive discussions and explain, you
know -- I mean, I guess my opening line is, "Many of
the terms included below clearly fall outside the scope
of what we agreed to, the email exchange we had on July
26, 2019, at 3:56 p.m. and again at 3:58 p.m."
Apparently some of the times must have been flipping
back and forth in the emails, now that I'm looking at
this. "Without going blow by blow, the terms of

Paragraph 4 clearly call for payments that were not

 

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included in the July 26 email exchange, setting forth
the settlement payments. In addition, those requests
for additional payments clearly seek an exception to
the full mutual releases, no carve-outs. I'm not sure
how you can now ask for payments that were not
previously agreed to, seek exceptions to full mutual
releases, no carve-outs."

And it goes on to explain those a little bit
more detail. I'm going, again, back to the full mutual
releases, no carve-outs, that's a repeated theme of
these discussions. There's some other terms at the
bottom, where they were making a request for default
judgment. Again, that was something that was
entertained in earlier emails. I'd have to look back
at email or Exhibit A. I think it was on the 20th. It
was around where maybe 23rd, 24th, where the discussion
of default judgment was a possibility, but it clearly
wasn't one of the terms that were agreed to, because
there were not one, not two, but three emails
confirming the key terms of the agreement, without any
discussion for these other non-monetary terms. Not
once was that included.
QO And those non-monetary terms would have been
various carve-outs that they were seeking now after the

Eact?

 

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Correct.
Directing your attention to Exhibit D.
Yes.

Can you identify that, please?

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So this is a response to -- another response to
the draft settlement agreement I provided on the 14th.
This is an email from Mr. Earley on the 16th at 11:52
a.m., and he expresses concerns similar to Jon Hager's,
and added a few other terms about a $30,000 loan
accruing interest, and then something related to stock
ownership. He refers to Jon's, even though Jon's
didn't come to me until later in the day, I believe.
So obviously they -- I'm assuming they exchanged
discussions or emails and didn't realize the timing of
events, but these two were -- I interpreted as being
sent in collaboration with one another.

QO Directing your attention to -- we'll skip over
E. If you'd take a look at Exhibit F?

A And then this is -- Mr. Earley apparently sent
an email to Mr. Hager and Mr. Kayser on August 20th,
2019, at 5:13 p.m., which he subsequently forwarded to
me on the 21st of August at 7:25 a.m., and it was only
to me, where they're identifying some additional
concerns about the settlement agreement, based on a

conversation that Mr. Earley had with a lawyer. There

 

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were concerns about the general release language. It
sought a new provision that wasn't discussed before, an
acceleration clause for payments, something about a
non-compete agreement, which was not previously
discussed, and changing the voluntary dismissal of this
proceeding to without prejudice, instead of with
prejudice. And then another statement about some

$30,000 loan, all of which we did not discuss

previously.
Q So --
A The only thing that might arguably have been

discussed, but again was Item 1, where they're making
an exception for Compass Marketing, but again from my
mind, full mutual releases, no carve-outs, that means
all parents, subs, and operating affiliates. Compass
Marketing is an operating affiliate under Ohio law, as
I understand it, because of its ownership interest in
the entity. We just decided to identify specifically
in the agreement, so that there wasn't an ambiguity
about that later on, because under Ohio law, as I
understand it, it constitutes an affiliate.

Q So how did you and Tagnetics view these post-
settlement communications from the Petitioning
Creditors?

A Sure. I guess -- I want to be careful about not

 

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revealing privileged communications, but Tagnetics was

surprised. I was certainly surprised. This to me was
clearly outside the scope of what we agreed to. I was
-- as I mentioned earlier, I wanted to be very careful
about how I communicated those terms at the end, before
we called the Court. And as I mentioned before, there
is not one, not two, but three confirming emails to
them, confirming the total payments and what the key
terms were, repeating the full mutual releases, no
Carve-outs. So this to me looked like more and more
exceptions. To use the phrase, buyer's remorse. I
don't know why there's been a change of heart, it
seemed to me, but that's the way I was interpreting it,
and that's the way I can fairly describe what
Tagnetics' reaction was, as well.

Q Okay. If you'll take a look at the next

exhibit? I believe it's the final one, Exhibit G.

A Okay.

Q Can you identify that?

A Sure. This looks like -- let me go back to the

first email here. This is more in the string of the --
so the first email in the string is from Mr. Hager to
me, with a copy to Mr. Kayser and Mr. Earley, on August

16th, where they identified their concern slash

 

objections to the settlement agreement that I provided

 

 

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on the 14th.
The next email in that string is my response

that we had identified earlier. I think that was
Exhibit D. No, C is the next one in that string, I
believe, if I'm reading them correctly. Yes. And then
this is a response to my August 19th email, and this
came from Mr. Hager to me, with a copy to Mr. Kayser
and Mr. Earley on August 20th, 2019, at 9:23 a.m.,
again trying to explain what I saw as the different
terms and conditions than what we had agreed to on July
26th.
Q Essentially then, to try to re-trade the
settlement that was reached on July 26th?
A Yes.

MR. KRACHT: I have nothing further, Your
Honor.

THE COURT: Thank you, Mr. Kracht.

MR. KRACHT: Would you entertain introduction
at this time or would you prefer to do that --

THE COURT: Yeah, I think that would be fine,
if you want to move admission.

MR. KRACHT: I'd like to move to admit
Exhibits A through I.

THE COURT: Did you cover Exhibit E?

MR. KRACHT: I did not, and if I could have a

 

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minute talking to my co-counsel, would that be
permissible?

THE COURT: Yeah, you may do so. Unless you
want to be on the record with this discussion, I'd get
away from a microphone. Yeah, Petitioning Creditors,
you can figure out whether you have any objections to
admission of these exhibits and if you want to, you
also -- I'll wait.

(Pause. )

MR. KRACHT: Your Honor, after conferring
with co-counsel, I'm going to, if you would permit, ask
him a few questions about that exhibit.

THE COURT: That's fine.

BY MR. KRACHT:

Q Directing your attention to Exhibit E.

A Yes.

Q Can you identify that, please?

A Sure. When preparing the motion to enforce the

settlement agreement, I drafted this declaration for
Mr. Luis Fernandez, where -- who was the CFO of
Tagnetics, and he is now -- at the time he signed this,
he was Acting CFO, and so I drafted this, sent it to
him, asked him to make whatever tweaks or modifications
he needed to make. He made a few small tweaks, signed

this and sent it back to me to include with our brief

 

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1} on the motion to enforce settlement agreement.
2 Q Okay. And it addresses what particular point?
3; A It addresses specifically Compass Marketing,
4| Inc.'s ownership interest in Tagnetics, Inc.
5 Q And that was to what, demonstrate that it's an
6| affiliate?
7 A Yes. To show -- because with the research that
8 I had conducted under -- or my office had conducted and

9| shared it with me, so I didn't actually do the

10| research, to make sure I'm accurate in my statement to
11 the Court. So, but based on my firm's research, under
12 Ohio law, an affiliate is any person, and a person is
13| defined as an individual or a corporate entity, that

14| owns more than ten percent of another company. And +f
LS this case, based on the ownership interest of Compass
16 Marketing having more than ten percent, we deemed it to

17 be an affiliate under Ohio law.

18 Q Okay, thank you.
115 MR. KRACHT: Nothing further, Your Honor.
20 THE COURT: Okay. And you're moving

21| admission of Exhibits A through I?

22 MR. KRACHT: Yes, Your Honor, correct.

23 THE COURT: Okay. Petitioning Creditors, you
24 can let me know if you have any objections to the

25 admission of any of those exhibits. You also have the

 

 

 

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right to, if you want to ask Mr. Stern or any other
witnesses questions about those exhibits, because you
dispute their authenticity or something like that,
before I admit them, you have the right to do that too.
So if you want to have me reserve my ruling on the
admission of those exhibits until you have the
opportunity to examine witnesses about those exhibits,
we can do that also.

DR. KAYSER: Your Honor, I'm concerned about
the admission of this particular affidavit.

THE COURT: Exhibit E, Mr. Fernandez's
affidavit?

DR. KAYSER: From Luis Fernandez, yes. And
the reason being that, you know, I was a long-time
director of this company, and as of the time of my
serving on the Board of Directors, Compass Marketing
was not a ten percent shareholder of this company. And
that action may have taken place after the petition for
involuntary bankruptcy was filed, and I would have to
contact the lawyer, and we don't have Luis Fernandez
here to testify when this change to the ownership of
Tagnetics occurred, and I think that's an important
consideration.

THE COURT: I think Mr. Kayser is making a

hearsay objection to the admission of Exhibit E. He

 

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didn't label that as a hearsay objection, but I think
he articulately objected to Exhibit E on the basis of
it being hearsay. Mr. Earley, do you have an objection
to the admission?

MR. EARLEY: I also object.

THE COURT: Mr. Hager?

MR. HAGER: Also object.

THE COURT: Based upon their objections, I
will not admit Exhibit E. I think it is flat-out
hearsay. Mr. Kayser articulately stated why hearsay
should not be admitted, particularly hearsay such as
this, an affidavit of somebody who is not testifying
today, that they do not have the ability to cross-
examine on these statements. So I will not admit
Exhibit E.

(Exhibit E rejected.)

THE COURT: What about the other exhibits,
Mr. Kayser and Mr. Earley and Mr. Hager, other than E?
Is there an objection or do you want me to reserve
ruling on those exhibits?

DR. KAYSER: Can we have just a moment, Your
Honor?

THE COURT: Yeah, absolutely. In fact, why

don't we take a five-minute recess? You can discuss

those and then we'll --

 

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DR. KAYSER: Appreciate it. Thank you.
THE COURT: -- come back after a five-minute
recess.
THE CLERK: All rise. Court is in recess.
(O££ the record from 11:02 a.m. until 11:14
a.m.)

THE CLERK: Court is again in session. You
may be seated.

THE COURT: Okay. We finished, I think, with
the direct examination of Mr. Stern. And Mr. Kracht
proposed the admission of Exhibits, Tagnetics' Exhibits
A through I. I already ruled on Exhibit E and
determined that E would not be admitted, based upon it
being hearsay, and I don't believe there's any
exception to the hearsay rule, which would cover an
affidavit of a person who is not here to testify.

And so I think that leaves the remaining
exhibits. And the Petitioning Creditors were
conferring as to whether they had any objections to the
admission of those other exhibits. So I think that's
where we lie.

Mr. Kayser, any objection? And as I pointed
out earlier too, if you want the Court to reserve
ruling on admission of these other exhibits until you

have the opportunity to examine Mr. Stern or any other

 

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witnesses, concerning those exhibits, that's also
something which the Court can do. So that being said,
Mr. Kayser?

DR. KAYSER: I don't believe I have any
objection to the other exhibits. They are primarily
documents --

MR. HAGER: Your Honor, I guess the question,
when you mention if we would like to cross, do we
suggest that we reserve your ruling or --

THE COURT: You can still cross. You'll
still have the opportunity to cross-examine Mr. Stern
about his --

MR. HAGER: Sorry.

THE COURT: -- testimony. It's a good
question. It's a good question. You still have the
right to cross-examine Mr. Stern. All I was -- point I
was making is -- is if you want me to reserve ruling on
admission of the other exhibits, until you cross-
examine Mr. Stern, because you may have some issue
about the authenticity or something of any of these
exhibits, I can reserve ruling on admission of those
exhibits until you have that opportunity.

MR. HAGER: Thank you.

THE COURT: So I believe Mr. Kayser said he

has no objections to admission of the other exhibits,

 

 

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other than, you know, Exhibit E. Mr. Farley, what
about you?

MR. EARLEY: The same. No objections.

THE COURT: Mr. Hager?

MR. HAGER: I have no objections.

THE COURT: Okay. Then the Court will admit
Tagnetics' Exhibits A through I, except for E. We are
not -- the Court is not going to admit Exhibit E, but
will admit the other exhibits.

(Exhibits A, B, C, D, F, G, H, I admitted
into evidence.)

MR. KRACHT: Thank you, Your Honor.

THE COURT: Okay. Now I think we're ready
for any cross-examination of Mr. Stern. Mr. Kayser, do
you wish to cross-examine Mr. Stern?

DR. KAYSER: I have a few questions for Mr.
Stern, yes.

CROSS-EXAMINATION OF STEPHEN STERN
BY DR. KAYSER:

Q Mr. Stern, on -- from the email of July that I
sent to you on July 20th, did that form the basis for
the remainder of our negotiations?

MR. KRACHT: Objection. Do you have an
exhibit you can refer to, please?

DR. KAYSER: It's our Exhibit 1, and I

 

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believe it was your Exhibit --

MR. STERN: Looking at Exhibit A, what is
Page 6 of the -- is that the one you're referring to?
BY DR. KAYSER:
Q Yeah.
A I don't know if I'd describe it as it forms the
basis of our subsequent negotiations, because I
responded by rejecting that email, and then I think
really where -- if you wanted to talk about one that
really forms the basis of it, you could maybe point to
either the July 23rd email from Mr. Earley, or the July
25th email from Mr. Earley, where those -- some of the
charts were there, and that set forth the terms.
Q Would you read the top to the first line of that
email to me?
A Which email are you referring to?
Q The July 20th email, Exhibit 1 or Exhibit A.
A So the first line says, "Stephen, as time is
very short, you should consider this as our final
offer. If your client agrees to these terms, we will
send a letter to the Judge, indicating we have reached
an agreement. This entire transaction must be
completed, including the transfer of funds, in time to
cancel the trial." That's the opening paragraph I just

read.

 

 

 

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Q Doesn't that statement presume that our position
was, this is our final offer?
A It does say it was the final offer, but
obviously it wasn't.
Q Did we subsequently agree to renegotiate the
payment schedule?
A I don't know about renegotiate. That suggests
that there was an agreement in place and then we're
modifying it.
Q In your response to this document -- let me find
the right response. Can you give me -- in the response
to that, in Exhibit -- same exhibit. Okay. Page 5 of
Exhibit A.
A So my response --
Q The only objection you state in here is an
objection to the cash amount and to the payments --
actually, to the payment schedule.
A That's not correct. The opening paragraph of my
response on July 23rd is two sentences. My opening
sentence says, "I'm in receipt of your demand to
resolve the litigation involving Tagnetics." Second
sentence says, "While I and the Tagnetics team
appreciate the overture to try to reach a negotiated
resolution, the demand you put forward is not
realistic."

 

 

 

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Q And the next statement is, the next sentence?
A Yeah, and I go into some of the discussion, but
I -- I didn't qualify --
Q The only thing discussed in this email is the

amount of cash, not the terms and conditions. Why
didn't you include any argument about the terms and
conditions?

A That is not correct. If you look at the email
further down, there is a discussion about the default
judgment, so it's not only about monetary terms. I
remember that was one of the discussions that we were
having. So it's not limited only to monetary terms.
And as the final email on July 26 reflected, there were
non-monetary terms addressed in that.

Q Can I ask you about your use of the word carve-
out? That doesn't seem to be -- is that a good legal
word to use?

A Well, it was -- I don't know how to really
answer that. Let me try my best. So it says, the
phrase that we're using on the 26th says, "full mutual
releases, no carve-outs." No exceptions would be
another way of saying it.

QO What's the definition of the word carve-out?

A I would describe it as an exception to whatever

is agreed upon in terms of whatever the scope of the

 

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agreement is. In this case, we're talking about
releases.

QO Is it a good legal word? I'm just asking you

whether, as a lawyer, do you think that carve-out is a
clear word to use, without knowing what the context in
which carve-out is used?

A I've used that phrase before. Other lawyers
have used that phrase before. It's not the first time
by any stretch in the course of my career, and the
phrase "carve-out," at least referencing July 26th as
the point it follows -- I'm reading from my email at
3:27 p.m., which is on Exhibit A. Full mutual
releases, parens, no carve-outs, so meaning no
exceptions to the mutual releases.

Q But you're adding a context to it, and is carve-

out a word that's defined by context?

A I think every word requires an examination of
context.

Q Have you ever looked carve-out up ina
dictionary?

A I have not.

Q Then I can’t ask you what it says. But carve-
out -- I can't testify here.

One last question. In the settlement agreement

you sent us on August 14th, why did you mention Ron

 

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Earley's loan in the section on Ron Earley, if you had
dismissed all of these terms?

A I know it was referenced at one point and we
limited to the monetary terms, as the chart reflects on
Mr. Earley's 25th email, and then again on Exhibit I,
the email that was sent by Mr. Hager, showing the
entirety of the monetary terms. And I was just
reiterating that that loan is not part of this, because
it says, "total settlement." There's no other monetary
payments to be made.

Q Exhibit --

A It is not unusual in my experience, at least the
way I draft agreements, when there is some discussion
of some point about maybe some other side term,
whatever the case may be, or some other agreement
that's out there, I like to make sure when there's a
release, we're enunciating the entire list of things,

to make sure that there's no argument later on --

QO So you --
A -- that I didn't include that or wasn't clear.
Q So in your -- it was mentioned in the settlement

agreement that you were wiping out Ron's loan; is that
how you would characterize it?
A I'd have to look back to the settlement

agreement that I drafted that I have a recollection of

 

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including some references to other agreements.

Q If you did that with Ron Earley's loan, why
didn't you do it with the other outside-the-contract
dollar amounts that -- for instance, the Kayser
Ventures, Core Technology license and also the other --
the deferred salary that was to be excluded in our
document?

A Well, that's not accurate either, because if you
look at your release and this language is mirrored in
Mr. Earley's release and it is mirrored in Mr. Hager's
release. I'm looking at Page 3 of Exhibit B. I don't
want to reread the entire paragraph, but I go through
an illustrative list of examples, whether known or
unknown, by statute, contract or otherwise, including
but not limited to any claims for -- so I'm now
articulating the various types of claims you or any of
your colleagues may bring against Tagnetics. Unpaid
wages, Romanette one. Romanette two, unpaid notes or
other loans, including unpaid interest.

Q All right. I have no other questions.

A Romanette three, unpaid dividends. I think it's
important that I complete my testimony here. Profits
or other distributions. Romanette four, unpaid
royalties. Romanette five, breach of contract

regarding goods or services provided or rendered, or

 

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equipment loaned to Tagnetics. Romanette six, breach
of express or implied contract or unjust enrichment.

DR. KAYSER: Your Honor --

MR. STERN: Romanette seven --

DR. KAYSER: -- I'm done questioning.

THE COURT: Okay.

MR. STERN: I'm just answering the question
that was asked.

THE COURT: IT understand. Yeah, and you're
referring to the draft settlement agreement, and I
think we can read the rest of that.

MR. STERN: Okay. They are a list of
illustrative types of claims.

THE COURT: You made your point in response
to his question. No further questions of Mr. Stern?

DR. KAYSER: You guys? Jon?

THE COURT: Mr. Kayser, you have no further
questions?

DR. KAYSER: Yes. No further questions.

THE COURT: Okay, thank you. Mr. Earley, do
you have any?

MR. EARLEY: No, I have no questions.

THE COURT: And if I don't state it, if they
-- the way I will phrase it is you can -- if Mr. Kayser

has asked questions, you don't need to ask the same

 

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questions. If there is additional testimony which you
wish to elicit in your case, you may do so, but you
don't have to re-elicit any testimony or evidence
that's already been introduced. But that -- and that's

going to run through, throughout the day today. That's
going to be the rule. You don't need to re-elicit
testimony or evidence that's already been elicited in
anybody's else's case. So with that caveat, anything
additional you wish, Mr. Earley, to cross-examine Mr.
Stern on?

MR. EARLEY: No, sir.

THE COURT: Okay, thank you. Same thing, Mr.
Hager, any additional --

MR. HAGER: I do have some questions.

THE COURT: Yes, you may.

MR. HAGER: And I'm not revisiting the same
issue, but it is the same word, but only for a reason.

THE COURT: That's fine.
BY MR. HAGER:
Q So Mr. Stern, who introduced the word "carve-
out" on our phone call at I believe it was 12:44 on
July 26, that phone call that was between Mr. Barley,
Mr. Kayser, myself and you?
A I don't remember who brought that up. It would

be speculation, based on my general recollection of

 

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discussions, but I have no specific recollection of
that.
Q Do you remember specifically what the topic that
we were discussing, that we had disagreement about,
that led to actually you stating, okay, then no carve-
outs?
A T'll assume for the moment, based on your
question, that I was the one that brought up the phrase
carve-outs. But regardless, what I do remember about
the discussion about release was that I think it was
Mr. Earley who was pushing for the notion -- maybe Mr.
Kayser or you. I don't remember who it was. I think
it. was Mr. Earley, was saying we need full releases,
referring to these other agreements that were in place,
because you didn't want to be -- you didn't want
Tagnetics to be able to sue on any -- on any
intellectual property rights, anything related to the
employment agreement. You wanted complete freedom from
Tagnetics, and I had expressed some concern about that
at some point, so I said nevertheless, I'm duty-bound
to discuss this with my client, and I will do so.

I did bring it up with Tagnetics, and I did
report back, to my surprise, that Tagnetics did -- was
willing to agree to the full releases you requested,

provided it was mutual, meaning no carve-outs, full

 

 

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mutual releases, and that's my general recollection of
how that conversation occurred.

MR. HAGER: I don't know if I can clarify
that conversation now, or do I need to do it later?

THE COURT: I mean, do you want to ask Mr.
Stern any more questions about that conversation or are
you saying you want to testify as to your recollection
of that conversation?

MR. HAGER: I guess I could ask a question,
maybe get the same --

THE COURT: You can ask him more questions.
BY MR. HAGER:
Q Did you request that Tagnetics reserve the right
to have essentially a carve-out, or to reserve the
right to be able to come back and sue the Petitioning
Creditors in that phone call?
A Well, one of the things I did explain -- I
understand now -- I think I know what you're talking
about. At one point, when I expressed my initial
concern about giving the full mutual release to you and
Mr. Earley and Mr. Kayser, was that Since there was
reference to some intellectual property issues, maybe
theft of trade secrets -- I may have probably given as
an example -- that's one I often use as an example, I

said I don't know if I could recommend that Tagnetics

 

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agree to this, because I don't know what you guys have
taken or not taken.

So I said, I will nevertheless discuss it with
the client, but the client was willing to agree to
that, again, provided that it's mutual and there were
no carve-outs, which is what you were asking for
yourselves and I remember then saying it's going to be
mutual, and it will be all the way around, for all
parties involved.

Q So was this specific discussion that you wanted
to -- you requested the reservation of Tagnetics to be

able to come back and prosecute us, if you will, at

some later date, and we disagreed with that --

A Right, and then I eventually said --

Q -- request specifically?

A And then I eventually said that there is no

reservation, it's full mutual releases, no carve-outs,

so meaning you got the release you wanted.

(@) But in the context of that discussion, to the
point of carve-outs in context, as you alluded is
proper, were we discussing our disagreement with
Tagnetics, reserving the right to come back and
prosecute us about our employment agreements,

participation in the Board, all the same points that

 

had been raised in the original July 20th proposal?

 

 

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1| A I don't know if it was in the context of the

2 July 20th proposal. That I don't -- I don't recall

3 that being the case. But again, you did express some

4 concerns, that is correct, about what Tagnetics may

5 come back after you on, and I had some concerns about

6 that. Nevertheless, I reported back to Tagnetics, had
7| a conversation with Tagnetics about it. Tagnetics

8 ultimately agreed to the concession you wanted

9 Tagnetics to make, which was the full release of the

10 three of you, and in return there would be a full

1.4 mutual release of Tagnetics, as well, which is what is
12 on that term sheet on July 26th, as exactly as we
13 discussed. That phrase is something that we discussed
14| and made sure that that was part of the discussion. It
15 wasn't just one-sided. It was both.

16 Q The other question I guess I have for you is in
17| your final emails on the 26th, as we call the flurry of
18 emails trying to get to the deadline, which would have
19 postponed the trial, did you label any of those emails
20 as this is a term sheet?

21 A No, I did not. I just --
22 Q You have been referring to it as a term sheet,

23 which I understand -- my experience with term sheets

24 and raising funds years ago for Tagnetics was, you

25| know, it's specifically calling everything out, but in

 

 

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those emails you refer to them as key terms.

A Yes.

Q Which would key terms allude to the fact that
that's a portion of the agreement? There are key terms
to an agreement and there are other terms to an
agreement?

A Well, there are material terms and there are
other terms, as written in the draft settlement
agreement, that as far as I could tell, there weren't
any objections to, for example, some of the other terms
in the settlement agreement. The Section 18 about
waiver, Section 17 about prevailing party status. Now,
that was in the July 26th email, but those are pretty
common types of terms in settlement agreements that
I've entered into. And as I referred to in the email
on the 27th, saying that these are the key terms, but I
said we have an agreement in place that will be
documented more thoroughly in a settlement agreement.
Referring to that they will be more elaborated on ina
written agreement, which is what I provided to the
three of you on August 17th. I'm bad with dates, so I
have to think about that.

Q So going back to your response to the July 20th
proposal, you responded July 23rd. Did you

specifically address or specifically state that the

 

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items listed as other items needing to be in the

settlement, did you specifically say those were

rejected?
A I'm sorry, can you ask the question again?
QO Sorry, trying to read my notes on the fly here.

So when you responded to Mr. Kayser's proposal of the
20th, did you specifically reject any of the terms
below, any of our requested terms that were below the
cash payment schedule at the top? Did you specifically
say those other items are no longer being considered,
or are not to be considered?

A I think the -- what I did write was your demand
put forward is not realistic.

Q Which is that -- that's a fairly general

statement, right?

A It is, but it refers to the entirety of the
demand.
Q But it would beg the next statement to be

clarification of what you disagree with, correct?

A Well, I disagreed with the entirety of the
demand.
oO I mean, if I said the weather was terrible

outside, you'd say well, what's terrible about it?
Right?

A Not necessarily.

 

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L Q So, yeah, so I can't testify, so I can't go much
2 further. But so did you specifically talk about in
3 Paragraph 2 the shortness of funds or the lack of
4 funds, if you will, of Tagnetics, at this point in
5 time, being able to make a payment at this point in
6 time?
7 A That's one of the things I discussed, but I also
g| discussed the concept of the default judgment that was
9| being discussed, which is not a monetary term. So LE
10} wasn't limited only to the money that -- we were not
11| discussing only money in that email.
12 Q But was there any reference to the KBL Core
13 agreement, the loan for Mr. Earley or --
14 A No.
15 Q So nothing for us to believe that you had
16 rejected those items that were being proposed on the
17| July 20 --
18 A Well, I don't know how else to interpret "The
19| demand you put forth is not realistic." That's
20 rejection of the term. Now, furthermore, your response
21. -- in fact, it was Mr. Earley, "Here's our offer, after
22 your email this morning. Let us know if there's any
23 interest." It doesn't refer to any other terms. And
24 then after that the next email I got was -- or another
25 email where, again, there was no monetary terms

 

 

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involved, but it was from Mr. Earley, on July 25th at
1:25 p.m., it says, "Here is my counter proposal." And
no other terms other than monetary terms in there.
What other non-monetary terms am I supposed to be
interpreting into that counter proposal on July 25th?
I don't know. There's no incorporation to the July
20th email, no reference made to terms in the July 20th
email, and there were two or three counter -- two
counter proposals, if I'm doing my math correctly, that
didn't refer to any other non-monetary terms between
now -- the July 20th -- and at least I'm looking at
July 25th. And again, the -- not once, not twice, but
three times in the confirmation emails on July 26th,
there were no other non-monetary terms included in the
emails from any of you.

In fact, the email from you on -- at 4:36,
Exhibit I, just to make sure there's no confusion.
Now, granted, that's the payment schedule, but if there
is some other non-monetary terms that I'm supposed to
be considering, I didn't see that in any of those three
emails.
Q I just want to point out on that schedule, I was
correcting a typo, so on one of the charts that was
sent under my name, the first item was 300.

A IT saw that. But you also added --

 

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QO There were three zeros, so I went ahead and just
A I saw it, but you also added "total" in
capitals. I mean --
Q I do spreadsheets every day and so I always do
"total" in capitals so I can see it. I didn't want to
read a lot into that total, but that's beside the
point. Did you get an email from me on July 30th?
A I don't know.
QO It's in our Exhibit 5, which I can pull out.
A I don't know --

MR. KRACHT: Objection.

MR. STERN: -- if it was sent to me.

MR. KRACHT: It's outside the scope. It's
outside the scope, Your Honor.

THE COURT: Any response to the objection,
Mr. Hager? Basically what he's saying is your question
is outside the scope of his -- what he testified to on
direct examination. It's beyond what he testified to
on --

MR. HAGER: I guess I'm trying to make the
point that in his statements earlier he said that we
were making new claims, that we had buyer's remorse, if
I remember your phrasing, and we were introducing new

monetary demands at that later date. Is that correct,

 

 

 

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you said --

MR. STERN: Yes, as just what I testified to,
I would say that's a fair description.

MR. HAGER: And so I was trying to make the
point that on that Tuesday, which was the day after the
weekend that we were expecting to see some kind of
draft agreement --

THE COURT: Not -- we're kind of getting into
testimony.

MR. HAGER: I'm sorry. I can cover that
later.

THE COURT: Now, if you have that -- if you
have that exhibit and you want to present it to Mr.
Stern and ask him if he received that, you may do that.
That's certainly, I think, well within the scope of
cross-examination, if it relates to his direct
testimony. So to that extent, I'm going to overrule
your objection, Mr. Kracht.

MR. HAGER: I apologize for muddling through
this. I'll do my best.

BY MR. HAGER:

Q So this is the email that was sent on -- let's
see if I can show this -- Tuesday, July 30th, at 9:33
a.m.

A Can you just do me a favor and put the entirety

 

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of that first page on, so I can see the full string?
Like, does this --
Q Well, the header, this is just wrapped on to
another page. So that was the table on this as a
follow-up.

THE COURT: Do you have a hard copy you can
present to --

MR. KRACHT: And what exhibit is this?

MR. HAGER: This is part of our Exhibit 5.

THE COURT: Does somebody have a hard copy
for the witness?

MR. HAGER: Is this for you, Your Honor?

THE COURT: We will need copies of any
exhibits you seek to introduce.

BY MR. HAGER:

Q This is still a part of that thick Exhibit 5,
which was all the emails.

THE COURT: Okay. Mr. Kracht, do you have
that?

MR. KRACHT: Exhibit 5, correct?

THE COURT: Yeah. I just want to make sure
you have that.

MR. KRACHT: I don't believe there are
exhibit stickers, but they appear to -- did you

identify your exhibits like at the top of a document?

 

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MR. HAGER: Yes, at the first page it was
identified, yes. So it follows the last table here.
July 30th --

MR. KRACHT: This is still part of Exhibit 5?

THE COURT: If you have the files, the
exhibit -- proposed exhibits they filed in Document
112-5, it would be 112-5, Page 1 of 24.

MR. KRACHT: For some reason, Your Honor, I
don't have that in what I printed from what they filed
electronically. I've got 3, 4 and I'm not running into
that page of Exhibit 5 for some reason.

THE COURT: What page of Exhibit 5 is that
you have on the document camera, Mr. Hager?

MR. HAGER: Looks like Page 16 in this copy.

MR. KRACHT: I'm going off of, Your Honor,
the exhibits that are time stamped, based on what they
filed with the Court. And what -- he's referring to a
document that has no court filing marks of any sort, so
I think there's some problem, unless I missed it, and I
apologize, if I did.

MR. HAGER: Right here, this is where it
starts. It's this, understood from Joni Behnken's
email and then, unfortunately, your printout, you ran

out of ink. That's the discussion. I'll try to make

it quick.

 

 

 

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1 MR. KRACHT: Looks like we have it but
2 there's some copying issues from what we got off the
3 Court file.
4 THE COURT: Yeah, I'm not sure -- Mr. Hager,
5/ I'm not sure when you filed these or whoever filed
6 these with the Court, that in the process, that it all
7| got copied and into the system.
8 MR. HAGER: He has the document. It's just
9 the printout is faded.
10 MR. KRACHT: You can't read it.
11 MR. HAGER: Ran out of ink or something.
12 MR. KRACHT: I don't think it's om our end.
13 I think it's -- I mean, I guess we could look at what
14 the Court shows as well, but the document he's
15 referring to, the text on the next page after that is
16| virtually illegible for several pages actually.
17 THE COURT: Yeah. I think there was a
18 problem --
19 MR. KRACHT: How it was scanned when it was
20 fed in.
21 THE COURT: Yeah, because what I'm looking at
22 in the court file exhibits does look significantly
23 different from what's on the monitor.
24 MR. HAGER: Can I approach, Your Honor, just
25 show you what we have?

 

 

 

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THE COURT: Absolutely, yeah.

THE CLERK: It is listed under 6, but it is
not legible. It appears to be a scanning issue. Your
Honor, if we took a recess I could probably retrieve it
from the Clerk's office.

THE COURT: Yeah, why don't we take a short

recess to do that? The Court is going to take a short
recess to retrieve the document from the Clerk's
office.

THE CLERK: Court is in recess.

(Off the record from 11:50 a.m. until 12:06
p.m.)

THE CLERK: Court is again in session. You
may be seated.

THE COURT: Okay. We left off with Mr. Hager
trying to cross-examine Mr. Stern on what was part of -
- an email that was part of, I believe, the Petitioning
Creditors! Exhibit 5, and there was I think a scanning
problem or issue with the Petitioning Creditors'
exhibits at the Court, but I believe, Mr. Kracht, that
they did email these exhibits to you; is that correct?

MR. KRACHT: T wasn't able to confirm that,
Your Honor, and it's very possible that that occurred.
I don't want to say that they weren't.

MR. HAGER: We did.

 

 

 

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THE COURT: Okay. Mr. Hager says they were
emailed to you. Is there any objection at this point
as to Mr. Hager's examining Mr. Stern on that -- was
that a July 30th? Is that right?

MR. HAGER: That's correct.

THE COURT: Email?

MR. KRACHT: I have that right now. And no.

THE COURT: All right. You may proceed, Mr.
Hager. Thank you.

BY MR. HAGER:

Q So this email here, I want to know if you had
received it on July 30th?

A I have no specific recollection that I did, but
I have no basis of saying that I did not.

Q So then whether you can answer or not, whether
you read the attachment that was attached to that
email?

A I have no recollection one way or the other.
I'm not saying that it wasn't sent to me. [I don't
specifically recall doing it.

Q Can you see in this attachment the --

A You have to pull it up a little bit for me to
see the entirety of it. Now I can.

QO There you go. And that's -- there's a whole

other page, but anyway, as it's written here -- I guess

 

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I can put the whole thing -- basically this attachment
looked very similar to the original proposal on July
20th.
A I don't know. I'd have to do a comparison, but
in my mind, even if it did, it doesn’t matter, because
that wasn't part of what we agreed to on July 26th. TI
remember -- what I do remember, after we reached
agreement on the 26th, there were some emails back and
forth, and admittedly, I didn't pay close attention. I
had just gotten back from vacation. I'm trying to get
up to speed. We had the agreement in place. My sole
focus was to comply with the Court's directive to get
the agreed order in place, and then work on the
settlement agreement afterwards.

So I remember there's some emails that I
received from one or some combination of you guys, but
IT have no recollection of what the specifics were and I
didn't -- I remember, whatever I saw, I didn't really

pay close attention to.

Q Okay. So you don't think you read this email
then?
A I may have, but if I did I didn't really process

it. I would say I may have taken a quick skim through,
but it wasn't something I was planning on paying

attention to, reading carefully or paying close

 

 

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attention to. We had the agreement in place. I was
worried about the agreed order, as far as this case was
concerned. That was my focus, that I remember being
the case.

Q So when you received our concerns about the
draft agreement, did you say that we had added new
terms?

A I remember having those discussions or that, you
know, exchange, after I sent the draft agreement. I

have no recollection of doing that beforehand.

Q But in your testimony didn't you say we had
added new terms, things that were never discussed?

A Yes, and even based on that email there,
assuming that's what was sent, I would still say those
are new terms from what we discussed, because the
agreement on the 26th didn't reflect those terms. And
as you may recall from the email strings at one point,

you cut off or it wasn't you specifically, Mr. Earley

said, cut off discussions, saying no chance, see you in
court. Then I asked for a counter proposal and, again,
there were counter proposals, but no reference to any
of these other terms.

MR. HAGER: So -- I don't think I can say
that. I guess I'll cover that in my -- in our

examination later or witness testimony. Okay. I have

 

 

 

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nothing further right now.
THE COURT: Thank you, Mr. Hager. Any
redirect examination, Mr. Kracht? You may proceed.
REDIRECT EXAMINATION OF STEPHEN STERN

BY MR. KRACHT:

Q Directing your attention to Tagnetics Exhibit A,
Page 3.

A Mm-hmm.

Q It's the email at the bottom of that page from

Mr. Earley to you, dated July 24th at 7:43; is that
what you were referring to, where they cut off all
discussions, terminated any discussions?

A Yes, that's what I interpreted their response to
be. And, in fact, if you look at my email above that,
my email on the 25th at 12:42 p.m., it's exactly the
phrasing I used. It seems silly, and quite frankly
odd, to simply cut off negotiations. I thought we were
done. Whatever transpired is over, and I'm trying to

revive discussions at that point, asking for a

counteroffer.
Q And you're starting anew from that point?
A That's the way I thought.

MR. KRACHT: Okay. Nothing further.
THE COURT: Thank you, Mr. Kracht. Any

recross-examination of Mr. Stern, Mr. Kayser?

 

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DR. KAYSER: No.

THE COURT: Mr. Earley?

MR. EARLEY: No.

THE COURT: Mr. Hager?

MR. HAGER: No.

THE COURT: Okay. I've got a couple quick
questions, Mr. Stern, and then everybody is willing to
ask any additional questions based upon my questions.
There are just two questions. One, the payment
schedule refers to a liquidity event. What would you -
- what's your understanding as to what liquidity event
means?

MR. STERN: We never discussed those details.
So when I put together the draft agreement, Your Honor,
there is a provision in the agreement, Section 2 on
Page 2 of Exhibit B, that -- where I provided a
definition of a liquidity event. And my recollection
from the objections and concerns that I received from
the alleged Creditors, no one really objected to that
definition that I included. It is a similar definition
-- I've written many agreements in my career. This
doesn't come directly from another one, but it adopts
concepts that I've used before in other agreements, and
I wanted to make it as, you know, consistent with what

we were -- you know thinking of as what would be a

 

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1 liquidity event and what would be an accurate and fair
2| description of that, and I think that's captured in
3 Section 2.
4 THE COURT: Okay, thank you. Well, that
5 answers that question for me. I'm assuming then from
6| what you just testified, that your definition of
7| liquidity event, what was intended, in your
8 understanding of liquidity event, in that schedule, was
9| what you have in Paragraph 2 of your draft settlement
10 agreement?
11 MR. STERN: Yes. This is what I wanted to
12 use as the definition, and I think it fairly and
13 accurately describes the types of liquidity events that
14 would be potentially in play for Tagnetics. And so to
15 -- I remember that was one of the conditions that they
16| wanted, they being the alleged Creditors, wanted for
17 the -- on the payment schedule for a certain event to
18 occur. And I tried to -- my best to capture what the
19 concept was. Granted, there were no details -- to be
20 fair, there were no details that were discussed between
21! us as to what would constitute a liquidity event. It
22 was just a phrase that was used, and I tried to put
23 reasonable meat on the bones to fairly and accurately
24 describe what that might be, to capture that event, if
25] it were to occur.

 

 

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THE COURT: Thank you. The second question
or area is some or all of the Petitioning Creditors, I
understand, I believe still have stock or equity
interest in Tagnetics. From the July 26, if there was
a July 26th settlement, what's your position as to the
impact of that settlement agreement on the stock or
equity interest?

MR. STERN: That is a fair question that I
don't think is really captured in the agreement. The -
-~ we didn't ask for them to relinquish their stock
certificates, because that wasn't part of the
discussion, but it was to relinquish any rights that
the release does capture, the relinquishment of any
rights they might have had vis-a-vis those -- whether
it be payment of profits, dividends or anything prior
to that date, I think is certainly captured in the
essence of full mutual releases, no carve-outs. But in
terms of what they had to do with their stock
certificates was not covered.

THE COURT: Thank you. Those are the only
questions the Court had for Mr. Stern. Any questions
based upon my questions, Mr. Kracht, for Mr. Stern?

MR. KRACHT: No, Your Honor.

THE COURT: Okay.

MR. STERN: May I step down, Your Honor?

 

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THE COURT: Hold on. Mr. Kayser, any
questions for Mr. Stern, based upon the questions I
just asked?

DR. KAYSER: No.

THE COURT: No? Mr. Earley?

MR. EARLEY: No.

THE COURT: Mr. Hager?

MR. HAGER: No, sir.

THE COURT: Thank you. Mr. Stern, you may be
excused.

MR. STERN: Thank you. It's been interesting
sitting on this side of the microphone.

THE COURT: It is different. I have been --
was there as an attorney years ago, and I agree, it is
a much different experience being on the other side.

Okay. Mr. Kracht or Mr. Stern, any other
witnesses you wish to call in Tagnetics' case?

MR. KRACHT: No, Your Honor.

THE COURT: Any other evidence then you wish
to introduce? We've admitted all your exhibits except
E. We've got Mr. Stern's testimony. Any other
evidence you wish to introduce?

MR. KRACHT: Nothing further, Your Honor.

THE COURT: Okay, thank you. What time is

it?

 

 

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x THE CLERK: It's 12:17, Your Honor.
2 THE COURT: 12:17. I think we -- now would
3 probably be a good time to break for lunch. As my wife
4 would let all of you know, it's in your all best
5 interest to let the Court take a lunch break. Whoever
6 came up with that Snickers' commercial with the prima
7 donnas in the Snickers' commercial, I think must have
8 known me. At least my wife would say they knew me. So
9 I hopefully will be much better behaved after getting
10 some nourishment and taking a short break for that. So
11| why don't we do that now. But I'll leave it up to you
12| how long you think we -- you wish, because I know all
13 of you probably have flights and so forth you need to
14 catch, so the -- taking a lunch break is not
1s negotiable, but the length of the lunch break is
16 negotiable.
17 MR. STERN: Your Honor, to the point about
18 leaving, I booked my flight as late as possible today.
19 It's out of Cincinnati. The latest I could fly out of
20| Dayton was like 2:30, and I thought that might be a
21| problem, but I probably have to be on the road back to
ae Cincinnati -- I realize we do have to get through this
23 hearing, probably by about 3:00, to catch my flight, to
24 make sure I return the car on time and everything.
25 THE COURT: Okay.

 

 

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1 MR. STERN: I think we should be able to
2 finish in that time, but I want the Court to be aware,
3 so we can plan accordingly.
4 THE COURT: Yeah.
5 DR. KAYSER: Excuse me. What time is your
6 flight out of Cincinnati?
7 MR. STERN: 5:20. And it's about an hour and

8 15 minutes --

9 DR. KAYSER: We'll do our best to be brief.
10 THE COURT: Okay.
13s MR. STERN: I don't know how much time you

12} guys were going to use, but --

13 DR. KAYSER: I think we'll be brief.
14 MR. STERN: So we should be on track then.
15 THE COURT: Why don't we plan on being here

16| back in 30 minutes? We can for sure getting started by
17 one o'clock, and then Ms. Behnken can -- and court
18 personnel can guide you to different places you can go.

19 Thank you.

20 THE CLERK: All rise.
21 (Lunch break from 12:20 p.m. until 1:03 p.m.)
22 THE CLERK: Court is again in session. You

23 may be seated.
24 THE COURT: Okay. Before we took an

25 adjournment for lunch, Tagnetics rested its case and we

 

 

 

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are now, I believe, prepared for the Petitioning
Creditors' cases. Mr. Kayser, or do one of you -- it
doesn't have to be Mr. Kayser. Who wishes to proceed
with their case first?

DR. KAYSER: Your Honor, I will take the
witness stand and present a narrative.

THE COURT: You may do so.

THE CLERK: I just remind you, sir, you're
still under oath.

DR. KAYSER: Understood.

DIRECT TESTIMONY OF KENNETH KAYSER

DR. KAYSER: Let me start at the beginning, a
brief introduction of who I am. I got my Ph.D. from
Purdue University in 1973. I was -- after that became
an assistant professor at Purdue, Director of the
Center for Applied Stochastics and a Professor in the
Department of Aeronautics and Astronautics

I also was the founder of Tagnetics'
predecessor 20-some years ago. I was the name on the
patents for the technology. And ultimately that
company was sold to Hobart and then re-acquired and
went forward under another name, was reorganized one
other time, to become Tagnetics. Ron Earley was the
president of that company. I was the chairman and I

have been a director of this company throughout the

 

 

 

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history of the company.

As of the beginning of this year, I resigned
as a director, with the express statement that we would
take legal action against the company, if the issues
concerning our contracts, among other issues with
creditors, were not resolved quickly.

Three months later we filed the petition, and
that's how we got to where we are today.

On July 19th we received a request from Mr.
Stern to make a proposal to settle this. The three of
us sat down or by phone conference agreed on what the
terms of that settlement proposal should be, and that's
expressed in my July 20th email. We agreed going into
this those were our terms.

A couple days after I sent that email, we got
a response from Mr. Stern, which has been introduced
into evidence previously, requesting a change in the
payout schedule, but not disputing the total amount we
agreed to settle for, which was, incidentally,
approximately 40 percent, which we thought was
contractually due to us.

I wasn't particularly in favor of doing a
settlement at all, given my history of asking fora
settlement previously, but I agreed to go along with

the other two petitioners, as they had been long-time

 

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employees of our company, and I wanted us all to be
more or less on the same page.

The terms of that July 20th letter, as far as
we knew, were never disputed except for the time table
on the payment of the funds. I was not involved in the
negotiation, because I had agreed that I would -- it
would be up to the other two guys to determine what
that payout was to us.

When we first got the request to renegotiate
the payout terms, the three of us once again hada
conference call to agree and what we agreed to do was
allow Ron Earley to renegotiate the terms of that
payout. We also agreed that the other terms were in
inviolate. And we did not authorize Ron -- Mr. Earley,
nor did we expect there to be any renegotiation of
those terms.

We talked often over the next several days,
during the craziness of many conversations back and
forth concerning the amount. In general, I didn't have
any significant input into that, other than to stress
in every conversation that the terms and conditions,
which we had outlined on July 20th, must be included in
any settlement agreement.

On Friday, a few hours before I guess around

3:00 or 3:30, I did hear that they had reached an

 

 

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agreement on the payout schedule, and both Ron Earley
and Jon Hager confirmed to me that they had not
renegotiated any other term, nor were they brought up.
And when Joni called me at 5:30 that evening, or not
evening, five o'clock -- I'm not sure of the exact time

Joni called, but it was later than I expected her to be
here, I told her that I had agreed to go along with
whatever Mr. Earley and Mr. Hager had agreed to. She
told me that they had both sent a note to the Court. I
don't recall exactly how that was sent.

So I agreed to go ahead and cancel the trial
at that time, given the assurances I had received from
both Mr. Earley and Mr. Hager that the terms had not
been discussed, and had not been agreed to, any changes
in those terms and conditions.

When I finally got a chance to read the email
that Mr. Stern had sent to me at 3:30 on Friday -- I
had been out doing some things. I don't even recall
what errands I was running, but I wasn't able to see
the email until 5:30. It said two things of
significance to me.

One is it had this vague term of carve-outs.
Carve-out is a word, when I -- I wasn't very happy with
what I got back from him. Being a lawyer, I expected

there to be more clarity in what he sent back, rather

 

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than less. I Googled carve-out, looking for the
definition of carve-out, because I wanted to understand
what he was trying to say. And basically there is no
specific definition of carve-out. It's entirely a
definition due to context.

And while from our perspective, all three of
us and mine, our perspective was that we were
negotiating from the July 20th document. And I
understood why both Mr. Hager and Mr. Earley would have
interpreted no carve-outs as meaning no changes to our
provision, other than the payment schedule, which was
being negotiated.

However, in that 3:30 email on Friday from
Mr. Stern, he also committed to getting a draft of the
settlement agreement over the weekend done. When we
did not receive that settlement agreement on Monday,
the three of us had another conference call, and said,
you know, there's been no clear restatement of the
terms of the settlement we had agreed to.

As a result of receiving no communication
from Mr. Stern on Monday, the three of us selected Jon
Hager to write a response, reiterating the terms which
we had agreed to. That was sent on Tuesday. I don't

know the date.

The Judge, Your Honor, you had ordered that

 

 

 

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there be, I believe, two weeks from the Friday for us
to get an agreed order. We did not hear from Mr.
Stern. We saw an agreed order, which he said we had to
sign. We didn't believe we had a clear agreement. We
refused to sign that agreement. We later received the
draft agreement, which he had sent, which we didn't
agree to and we didn't -- we never signed an agreed
order, because we did not have an agreement.

We consequently had another conference call
with Your Honor, and -- excuse me for a second. I have
to think about the time line. I'm old. I can't see
well and I don't hear well, so it takes me a while to
look at this stuff.

We had another conference call with you to
discuss -- during which you set a new deadline for when
we needed to have the agreement put together by. We
did not have the agreement together by then, and there
was no negotiation. There were very large gaps which,
frankly, I can't testify to. I'm sure that Mr. Hager
will testify to the time line of the gaps, when we
never heard -- we repeatedly reiterated the terms and
conditions under which we were willing to settle. We
never saw any edit to the draft agreement concerning --
we had no conversation with working out our

differences.

 

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